                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


NORTH CAROLINA STATE CONFERENCE OF
THE NAACP, et al.,

                    Plaintiffs,
                                                         No. 1:18-cv-01034
             v.

ROY ASBERRY COOPER III, in his official capacity
as the Governor of North Carolina,
et al.,

                    Defendants.



           PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       The North Carolina State Conference of the NAACP, Chapel Hill – Carrboro

NAACP, Greensboro NAACP, High Point NAACP, Moore County NAACP, Stokes

County Branch of the NAACP, and Winston Salem – Forsyth County NAACP

(“NAACP” or “Plaintiffs”) hereby respectfully request, pursuant to Federal Rule of Civil

Procedure 65(a)(1), that the Court issue a preliminary injunction preventing Defendants

from putting into effect the challenged provisions of Senate Bill 824 (“SB 824”), entitled

An Act to Implement the Constitutional Amendment Requiring Photographic

Identification to Vote, 2018 N.C. Sess. Laws 144.

      The law requires, among other things, that in-person voters present one of a

limited number of forms of qualifying photographic identification. The law also

dramatically expands the number of poll observers permitted on election day, and

expands the grounds for challenges to ballots by any voter in the county to encompass the




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new voter ID requirements. The law’s purpose is, and its effect will be, to disparately

deny thousands of otherwise eligible Black and Latino voters in North Carolina the right

to vote.

       Preliminary injunctive relief is warranted—(1) Plaintiffs are likely to succeed on

the merits of their claims; (2) the law will immediately irreparably harm Plaintiffs; and

(3) the public interest and balance of equities favor a preliminary injunction. The

Plaintiffs have a strong likelihood of success on the merits. SB 824 transparently

repackages the voter ID restrictions in HB 589, a law the Fourth Circuit found

intentionally discriminated against voters of color. N.C. State Conference of the NAACP

v. McCrory, 831 F.3d 204, 229 (4th Cir. 2016). Both because of its discriminatory

purpose and its discriminatory effects, SB 824 likely violates § 2 of the Voting Rights

Act, 52 U.S.C.A. § 10301. SB 824 will also cause immediate irreparable harm. If SB

824 takes effect, thousands of Black and Latino voters will be deprived of the most

fundamental right in our society—the right to vote. The public interest and balance of

equities also favor preliminary injunctive relief. North Carolina has no legitimate interest

in enforcing an unconstitutional law, the public has a strong interest in exercising the

right to vote, and administrative convenience cannot justify laws that impinge upon

fundamental rights.

       Plaintiffs request that the provisions of SB 824 that impose voter-identification

requirements, expand the number of poll observers, and loosen eligibility requirements

for people who can challenge ballots be enjoined to provide Plaintiffs with necessary and

appropriate relief. This Motion is supported by the contemporaneously filed




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Memorandum of Law, the accompanying declarations, and any additional submissions

that may be considered by the Court.

      Respectfully submitted, this 17th day of September, 2019.

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                                 Counsel for Plaintiffs




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                            CERTIFICATE OF SERVICE

I hereby certify that on this date I electronically filed the foregoing PLAINTIFFS’
MOTION FOR PRELIMINARY INJUNCTION with the clerk of Court using the
CM/ECF system which will send notification of such to all counsel of record in this
matter.

This 17th day of September, 2019.



                                                      /s/ James W. Cooper
                                                      James W. Cooper
                                                      Attorney for Plaintiffs




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